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                     UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF WEST VIRGINIA

                                CHARLESTON


UNITED STATES OF AMERICA

v.                                   Case No. 2:09-cr-00222-09

DALE WRIGHT


                                O R D E R

     On October 6, 2009, an individual named Dale Wright was

arrested on a warrant issued for “Dale Wright,” made an initial

appearance, and was released on bond.           The court entered an Order

Setting Conditions of Release.           The United States has filed a

motion to exonerate his bond on the ground that the individual who

was arrested is not the “Dale Wright” named in the indictment.

     It is hereby ORDERED that the motion is granted, and the Clerk

is directed to vacate the Order Setting Conditions of Release and

to place it under seal, along with documents ## 12, 128, 130, 141,

and the return of the executed warrant. It is further ORDERED that

the Clerk shall issue a warrant for the “Dale Wright” named in the

indictment.

     It is further ORDERED that the Clerk, the United States

Marshals Service, the Federal Bureau of Investigation, the Bureau

of Alcohol, Tobacco, Firearms and Explosives and the Probation

Department take the following actions immediately with respect to

the within indictment:
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1.   Destroy hard copy and electronic files relating to the Dale

Wright who was erroneously arrested on October 6, 2009;

2.   Remove any and all references in NCIC and other electronic

databases to the Dale Wright who was erroneously arrested on

October 6, 2009;

3.   Destroy fingerprint information taken from the Dale Wright who

was erroneously arrested on October 6, 2009;

4.   Destroy DNA swabs from the Dale Wright who was erroneously

arrested on October 6, 2009;

5.   Take all such other actions as are or may be necessary to

insure that there is no law enforcement or other record of any sort

that the Dale Wright who was erroneously arrested on October 6,

2009, is connected in any way to the within indictment.

      The Clerk is directed to transmit this Order to AUSA Steven I.

Loew,   who    shall   promptly   deliver    it   to   the   appropriate     law

enforcement authorities, and to provide copies to the U.S. Marshals

Service and the Probation Department.

      ENTER:    October 8, 2009
